     Case 3:18-cv-01506-AHG-LL Document 1 Filed 07/02/18 PageID.1 Page 1 of 34




1    Christian S. Molnar, Esq. (SBN 177665)
     ARENDSEN CANE MOLNAR, LLP
2    315 S. Beverly Drive, Suite 320
     Beverly Hills, California 90212
3    Telephone: (310) 299-8630
     Facsimile: (310) 820-9926
4    Email: cmolnar@arendsenlaw.com
5
     Attorneys for Highlander Holdings, Inc., a California corporation
6
7                             UNITED STATES DISTRICT COURT
8                        SOUTHERN DISTRICT OF CALIFORNIA
9    Highlander Holdings, Inc., a California       Case No.: '18CV1506 DMS WVG
10   Corporation;
                                                   COMPLAINT FOR:
11               Plaintiff,
12                                                 (1) Material Misrepresentation in
           vs.                                         the Sale of Securities Pursuant to
13                                                     Section 10(b) and Rule 10b-5 of
14   Andrew Fellner, an individual; Strategic          the Securities Exchange Act of
     Global Investments, Inc., a Delaware              1934;
15
     Corporation; and Does 1 through 20,           (2) Material Misrepresentation in
16   inclusive,                                        the Sale of Securities Under
                                                       Section 12(2) of the Securities Act
17
                 Defendants.                           of 1933;
18                                                 (3) Material Misrepresentation in
                                                       the Sale of Securities Under
19
                                                       California Corporations Code §
20                                                     25401 and § 25501;
                                                   (4) Negligent Misrepresentation;
21
                                                   (5) Fraud in the Inducement;
22                                                 (6) Breach of Fiduciary Duty, and
                                                   (7) Constructive Trust
23
24         Highlander Holdings, Inc., a California Corporation (“Plaintiff”) brings this
25   action for rescission and damages against Defendants Andrew Fellner, an individual
26   (“Defendant Fellner” or “Fellner”); and Strategic Global Investments, Inc., a Delaware
27   Corporation (“Defendant Strategic” or “Strategic”); and Does 1 though 20, inclusive
28   (collectively, the “Doe Defendants”). Defendant Fellner, Defendant Strategic and the
29
                                         1
30
                  COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
     Case 3:18-cv-01506-AHG-LL Document 1 Filed 07/02/18 PageID.2 Page 2 of 34




1    Doe Defendants are sometimes collectively referred to herein as “Defendants.”
2                                                           PARTIES
3             1.       Plaintiff is now, and at all times mentioned herein was, a California
4    corporation.1 Plaintiff maintains its headquarters in the County of San Diego, State of
5    California, and, in exchange for a Five Hundred Thousand Dollar ($500,000.00)
6    investment, holds 3,005,000,000 shares of common shares in Strategic.
7             2.       Defendant Strategic, formed in 2008, is a publicly traded Delaware
8    corporation and, at all times relevant to this action, was headquartered in San Diego,
9    California.2 Strategic's common stock is classified as a "penny stock" (as such term is
10   defined by the Securities and Exchange Act of 1934 [the “Exchange Act”]) and traded on
11   the OTC Pink Marketplace (symbol: STBV).
12            3.       Defendant Fellner is a resident of Carlsbad, California and at all material
13   times was the CEO, secretary, treasurer, and sole director of Strategic. Fellner acquired a
14   controlling interest in Strategic in 2010.3 In July 1982, Fellner pleaded guilty to
15   conspiracy and federal mail fraud for his role in a multimillion-dollar real estate and
16   forgery fraud scheme and served approximately three (3) years in prison.
17            4.       Plaintiff does not know the true names of the Doe Defendants and therefore
18   sues them by those fictitious names. Plaintiff is informed and believes, and on the basis
19   thereof herein alleges, that each of the Doe Defendants was in some manner legally
20   responsible for the events and happenings alleged herein and for Plaintiff’s damages
21   therefrom. The names, capacities, and relationships of the Doe Defendants will be
22   alleged by amendment to this complaint when they are known.
23   ///
24   ///
25
26   1
       Highlander Holdings, Inc. was formerly known as McGregor and Associates Insurance Administration, Inc. d/b/a
     McGregor & Associates, Inc., but in May of 2018 the company changed its name to Highlander Holdings, Inc.
27   2
       Strategic moved its executive offices to West Palm Beach, Florida on or around May 2017.
     3
       Feller sold all of his stock in Strategic and stepped down from all board, executive and management positions therein in
28   May 2017.
29
                                               2
30
                        COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
     Case 3:18-cv-01506-AHG-LL Document 1 Filed 07/02/18 PageID.3 Page 3 of 34




1          5.     Plaintiff is informed and believes, and based thereon herein alleges, that at
2    all times mentioned herein, Defendants, and each of them, were the agents and/or
3    employees of the other, and each of them, in doing the acts alleged herein, were acting
4    within the purpose and scope of said agency and employment.
5          6.     Each Defendant is sued individually and as an agent, conspirator, aider and
6    abettor, investor, manager, unit-holder, employee and/or control-person for each of the
7    other Defendants, and the liability of each Defendant arises from the fact that it engaged
8    in all or part of the unlawful acts, plans, schemes, or wrongs complained of herein and
9    was acting within the course and scope of said agency, partnership, conspiracy, and
10   employment.
11                                JURISDICTION AND VENUE
12         7.     The Court has personal jurisdiction over Defendants because they resided in
13   California at all material times, conducted business in the State of California, and
14   contracted with Plaintiff and others in the State of California, and, as such, voluntarily
15   subjected themselves to the laws of this state.
16         8.     This Court has subject matter jurisdiction and supplemental jurisdiction over
17   all causes of action asserted herein pursuant to 28 U.S.C. § 1391 and § 1367 because the
18   claims arise under the Federal Securities and Exchange Act of 1934.
19         9.     Venue is proper in this Court in accordance with 28 U.S.C. § 1391(b)(1)
20   because Defendant Fellner resides in the County of San Diego, California and because
21   Defendant Strategic conducted business in and, at all material times, maintained its
22   principal place of business in the State of California and the County of San Diego. Venue
23   is also proper in this Court pursuant to 28 U.S.C. § 1391(b)(1) because certain of
24   Defendants’ transactions, acts, practices and courses of conduct constitute violations of
25   the federal securities laws and occurred within this district.
26   ///
27   ///
28   ///
29
                                          3
30
                   COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
     Case 3:18-cv-01506-AHG-LL Document 1 Filed 07/02/18 PageID.4 Page 4 of 34




1                                  FACTUAL ALLEGATIONS
2          10.    In or around 2010, Defendant Fellner purchased a majority of shares in
3    Strategic, and thereafter became its chief executive officer, secretary, treasurer, and sole
4    director.
5          11.    In or around late 2012, Defendant Feller approached George McGregor,
6    Plaintiff’s president and owner (“Mr. McGregor”), seeking Plaintiff’s investment in
7    Defendant Strategic, pitching it as a company engaged in a number of promising business
8    opportunities.
9          12.    The initial opportunity Defendant Fellner pitched to Mr. McGregor for
10   Plaintiff was Strategic’s transforming of a previously-acquired piece of real estate located
11   in Baja, Mexico, dubbed Puna Perfecta, into a vacation resort property. Another
12   opportunity was Strategic’s importing of high-end wine and cigars from China to the
13   United States. And, yet another opportunity, was Strategic’s utilization of the production
14   studio facility it acquired in its purchase of Wazzuu, Inc., to produce informational
15   content videos starring known television personalities (or, in the alternative, loan out the
16   facility to clients wanting to produce their own content), and subsequently stream those
17   videos on a Strategic-hosted website or other similar platform.
18         13.    Based on the foregoing business opportunities, and Defendant Fellner’s
19   representations that such opportunities were both “underway” and “promising,” Mr.
20   McGregor agreed, on behalf of Plaintiff, to invest Two Hundred Thousand Dollars
21   ($200,000.00) in Strategic (the “Initial Investment”), which Plaintiff paid in sixteen (16)
22   equal payments of Twelve Thousand Five Hundred Dollars ($12,500.00) each, between
23   approximately October 1, 2012 and January 2, 2014. In exchange for the Initial
24   Investment, Plaintiff received two million (2,000,000) shares of common stock in
25   Strategic that were issued on stock certificates as follows: (i) one million (1,000,000)
26   shares dated December 27, 2012; (ii) five hundred thousand (500,000) shares dated
27   March 6, 2013; and (iii) five hundred thousand (500,000) shares dated June 28, 2013.
28   ///
29
                                          4
30
                   COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
     Case 3:18-cv-01506-AHG-LL Document 1 Filed 07/02/18 PageID.5 Page 5 of 34




1            14.      Pursuant to Defendant Strategic’s offering documents dated March 15, 2013
2    (the “Offering Circular”), Defendant Strategic described itself (and held itself out) as a
3    “development stage company,” offering video production and social media information
4    services, “providing our customers with various opportunities to use the internet to
5    provide on demand information or advertising to targeted audiences.”
6            15.      In or around early spring of 2013, Defendant Fellner notified Strategic
7    investors that the company developed a well-crafted strategy and business plan for entry
8    into Colorado’s medical marijuana business.
9            16.      On April 4, 2013, Defendant Strategic, issued a press release (the “April 4,
10   2013 Press Release”). The April 4, 2014 Press Release (the first of many) announced
11   Defendant Strategic’s foray into the marijuana business,4 stating, among other things,
12   that, "GrowLife, Inc., a provider of highly effective indoor growing technologies and
13   unique lifestyle brands ... has signed a Letter of Intent with [Strategic] to build a
14   comprehensive, multichannel media network for the marijuana industry" (the “April 2013
15   Press Release”).
16           17.      On February 10, 2014, Defendant Strategic issued a press release (the
17   “February 2014 Press Release”), announcing that the Company "entered into meaningful
18   negotiations for the purchase of a marijuana growing facility located in Teller County,
19   Colorado." The February 2014 Press Release further stated that it expected "to yield a
20   harvest and generate revenue from the sale of [marijuana] plants by the 3rd Quarter of
21   [2014][,]" and that it planned to have "the first new crop started in the first week of
22   March [2014]." Defendant Fellner is quoted in the February 2014 Press Release, stating
23   "the demand in this newly legalized industry is sure to bring in significant revenue going
24   into the third and fourth quarter of 2014."
25   ///
26
     4
       On November 6, 2012, Colorado voters approved Amendment 64, which legalized recreational marijuana in Colorado as
27   a matter of state law. On December 10, 2012, the State of Colorado amended its constitution to provide that the use of
     marijuana should be legal in the state and regulated in a manner similarly to alcohol. Colo. Const. Art. 10 Section
28   16(10(a).
29
                                              5
30
                       COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
     Case 3:18-cv-01506-AHG-LL Document 1 Filed 07/02/18 PageID.6 Page 6 of 34




1          18.    On February 20, 2014, Defendant Strategic issued a press release (the
2    “February 20 Press Release”), announcing that it "signed an agreement for the purchase
3    of Bearpot, Inc. (hereinafter, “Bearpot”). Allegedly, Bearpot was the controlling entity in
4    a twenty-eight (28) member marijuana growing facility located in Teller County,
5    Colorado." In the February 20, 2014 Press Release, Defendant Strategic also claimed that
6    it "evaluated the industry and [expected] to be able to yield a harvest and generate
7    revenues from the sale of plants by the 4th Quarter of this year."
8          19.    Defendant Fellner reiterated this projection in a February 24, 2014 letter to
9    shareholders, which Defendant Strategic included in a press release of even date
10   therewith (the “February 24, 2014 Press Release”). The February 24, 2014 Press Release
11   quoted Defendant Fellner and stated that Strategic now owned a "marijuana cultivation
12   facility[,]" and included Defendant’s Fellner’s acknowledgement that a recent increase in
13   trading activity of STBV was attributable to the marijuana cultivation facility.
14         20.    Four (4) days later, Defendant Strategic published an "executive interview"
15   in its February 28, 2014 press release (the “February 28, 2014 Press Release”) wherein
16   Defendant Fellner explained that "the largest amount of growth that we will see in the
17   next 3-6 months for [Strategic] surely will be in the growing and distributing of medical
18   and recreational marijuana."
19         21.    On March 27, 2014, Defendant Strategic issued a press release (the “March
20   27, 2014 Press Release”) identifying the company’s accomplishments relating to the
21   purported marijuana cultivation facility. It further stated that Strategic experienced “a
22   very busy quarter,” and included a list detailing completion of all electrical and structural
23   upgrades to the Bearpot cultivation facility.
24         22.    On July 9, 2014, the Securities Exchange Commission (“SEC”) issued and
25   served Strategic with an investigatory subpoena seeking documents to establish and
26   support claims Defendant Strategic made in the April 4, 2013 Press Release, the February
27   10, 2014 Press Release, the February 20, 2014 Press Release, the February 24, 2014 Press
28   Release, the February 28 Press Release, and the March 27, 2014 Press Release
29
                                          6
30
                   COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
     Case 3:18-cv-01506-AHG-LL Document 1 Filed 07/02/18 PageID.7 Page 7 of 34




1    (collectively, the “Press Releases”). Although Defendants twice responded to the SEC
2    subpoena, on August 18, 2014 and August 28, 2014, respectively, Defendants failed to
3    disclose the SEC investigation to Strategic investors, including Plaintiff.
4            23.      In or around 2014, Defendant Fellner continued soliciting additional
5    investment funding from investors, including Plaintiff, and in his solicitation he
6    represented that Defendant Strategic would have all of the necessary funding, legal
7    permits, legal requirements, as well as the facilities to be successful in the medical
8    marijuana business.
9            24.      In or around January 2015, based on Defendant’s’ representations regarding
10   Strategic’s market positioning and its anticipated success in the marijuana business,
11   Plaintiff invested additional funds in Defendant Strategic. Pursuant to a Stock Purchase
12   Agreement and Promissory Note dated January 15, 2015 (the “SPA” and the “Note,”
13   respectively), Plaintiff invested an additional Three Hundred Thousand Dollars
14   ($300,000.00) in exchange for three billion (3,000,000,000) shares of common stock in
15   Strategic.5 A copy of the SPA and the Note are hereto as Exhibit “A,” and incorporated
16   herein by this reference as if fully set forth.
17           25.      McGregor made timely payments pursuant to the Note commencing in
18   January 2015. The last payment of which was due December of 2016.
19           26.      On February 29, 2016, the Securities Exchange Commission (“SEC”) filed a
20   complaint against Defendants Fellner and Strategic (the “SEC Action”), alleging the
21   following6:
22       a) In February 2014, Defendants made material false and misleading statements in
23           various press releases, which they disseminated publicly on
24           www.otcmarkets.com. These press releases falsely portrayed Strategic as owning
25
26   5
       For clarity, the operative SPA and Note are dated May 15, 2015, which replaced the January 15, 2015 SPA and Note.
     McGregor began making further investment payments, however, to Defendant Strategic pursuant to the January 15, 2015
27   SPA and Note.
     6
       Securities and Exchange Commission vs. Strategic Global Investments, Inc. and Andrew T. Fellner. Case No. 16-cv-
28   00514-JLB
29
                                              7
30
                       COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
     Case 3:18-cv-01506-AHG-LL Document 1 Filed 07/02/18 PageID.8 Page 8 of 34




1          a revenue-generating marijuana cultivation facility in Teller County, Colorado.
2          At that time, however, Defendant Strategic was involved in industries wholly
3          unrelated to marijuana.
4       b) At no time did Defendant Strategic have the ability to operate in the marijuana
5          business space or legally generate revenue from the sale of marijuana generated
6          from its purported cultivation facility in Teller County, Colorado because
7          Defendant Strategic lacked the requisite licensure, funding, and other corporate
8          infrastructure necessary for operating a successful marijuana-related business.
9       c) Defendants made material misrepresentations and omissions in connection with a
10         January 2014 securities offering in failing to disclose in Defendant Strategic's
11         Form 1-A offering documents filed with the SEC that Defendant Strategic: (a)
12         used investor proceeds to enter the marijuana business; and (b) later exited that
13         business.
14      d) Defendants knew, or were reckless in not knowing, that the information in the
15         disseminated press releases and offering documents contained false and
16         misleading statements relating to Defendant Strategic's purported marijuana
17         business and use of investor proceeds.
18      e) By knowingly or recklessly engaging in the conduct described in the complaint in
19         the SEC Action, Defendants violated, and, unless enjoined will continue to
20         violate, Section 10(b) and Rule 10b-5(b) of the Exchange Act, 15 U.S.C. § 78j(b)
21         and 17 C.F.R. § 240.l0b-5, and Section 17(a)(2) of the Securities Act of 1933
22         ("Securities Act"), 15 U.S.C. § 20 77q(a)(2).
23         27.    The SEC uncovered that the following specific facts from Defendant
24   Strategic's statements regarding its purported foray into the marijuana business were false
25   and misleading:
26      a) Defendants falsely mischaracterized to investors its purchase of Bearpot's assets as
27         the acquisition of "an existing" marijuana cultivation facility in Teller County,
28
29
                                         8
30
                  COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
     Case 3:18-cv-01506-AHG-LL Document 1 Filed 07/02/18 PageID.9 Page 9 of 34




1          Colorado when, in fact, no such facility existed. The purported cultivation facility
2          was, in fact, a rented two-story house located in a residential area of Teller County.
3       b) Defendants failed to disclose that Bearpot was not permitted have such a facility or
4          operation in that location because: 1) Teller County Ordinance #18, effective as of
5          March 2013, prohibited the licensing and operation of, among other things,
6          marijuana cultivation facilities, 2) under various Colorado state laws, commercial
7          medical marijuana cultivation requires a license, which neither Bearpot nor
8          Defendants, or their respective officers, ever acquired or possessed, and 3) Teller
9          County zoning regulations did not permit commercial marijuana grow houses in
10         the residential area where the purported Bearpot facility was located.
11      c) Neither Bearpot nor Strategic had, or legally could have had, a functioning
12         marijuana cultivation facility, rendering baseless Defendant Strategic's revenue and
13         growth projections. At the time of the Press Releases, Defendant Fellner was the
14         CEO, secretary, treasurer, and sole director of Strategic, therefore having ultimate
15         authority over the issuance, content and formulation thereof.
16      d) In his position as CEO, secretary, treasurer, and sole director of Strategic,
17         Defendant Fellner knew or should have known the legal and licensing
18         requirements of and for the marijuana business in Colorado. Further, Defendant
19         Fellner knew or should have known that the Bearpot facility was not properly
20         located, licensed, or equipped to legally cultivate marijuana.
21      e) Misleading information in Defendant Strategic's Form 1-A filing revealed that
22         Strategic raised operating capital via offerings pursuant to Regulation A of the
23         Securities Act. Between March 2013 and September 2015, the SEC qualified five
24         (5) of Strategic's Regulation A offerings.
25      f) Rule 253(e) of Regulation A, 17 C.F.R. § 230.2S3(e), required Defendant Strategic
26         to revise its January 2014 Regulation A offering documents during the twelve (12)
27         months succeeding the date of qualification whenever the information in the
28         corresponding Forms 1-A became false or misleading, material developments
29
                                         9
30
                  COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
     Case 3:18-cv-01506-AHG-LL Document 1 Filed 07/02/18 PageID.10 Page 10 of 34




1           occurred, or there was a fundamental change to the information initially presented.
2           A Form 1-A essentially acts as a registration statement used during an offering
3           under Regulation A of the Securities Act. The Form 1-A informs investors about
4           the offering company, including, without limitation, the type of business it
5           conducts and transacts.
6        g) Beginning in January 2014, Defendant Strategic offered its securities to investors
7           and prospective investors via an offering under Regulation A, which ultimately
8           raised $3.4 million, and concurrently disseminated false and misleading
9           information about its business venture and the use of investor proceeds in its
10          corresponding Form 1-A during the offering.
11       h) The SEC qualified Strategic's Regulation A offering on January 17, 2014. The
12          corresponding Form 1-A, which Defendant Fellner signed in his capacity as CEO,
13          described Defendant Strategic as being in the video production business and
14          contained no reference to the marijuana business.
15       i) The Form 1-A further stated that the proceeds from the offering would be used
16          "primarily to increase the marketing efforts of the company and to install more
17          equipment for its live [streaming] based business and for other general corporate
18          purposes."
19       j) Defendant Strategic sold approximately $2.1 million worth of stock pursuant to the
20          exemption set forth in Regulation A in the first three (3) months of 2014.
21       k) In February 2014, Defendant Strategic did not file an amendment to its Form 1-A.
22       l) Such an amendment was required by Rule 253(e) because, while the offering was
23          ongoing, the company used Fifty Thousand Dollars ($50,000) of investor proceeds
24          to acquire Bearpot. While Bearpot did not have the revenue, licensure, or other
25          necessary requirements to actually or legally grow commercial marijuana, the
26          purchase of Bearpot indicated a switch in Defendant Strategic's business plan.
27          Thus, Defendants’ failure to file an amendment to the Form 1-A rendered
28          statements about Strategic’s business and its use of proceeds false and misleading.
29
                                         10
30
                   COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
     Case 3:18-cv-01506-AHG-LL Document 1 Filed 07/02/18 PageID.11 Page 11 of 34




1        m) In April 2014, Defendant Strategic planned to exit the marijuana business.
2        n) Defendant Strategic never updated its Form 1-A to reflect its plan to exit the
3           marijuana business.
4        o) Strategic subsequently filed a Form 1-A and amendments for a new Regulation A
5           offering in April 2014, in which it disclosed its entrance into and plan to exit the
6           marijuana business, into which it had already placed investor proceeds. However,
7           this belated amendment did not relieve Defendant Strategic of its obligation under
8           Rule 2-253(e) to update the earlier Form 1-A for a different offering. In short, the
9           filing of a new Regulation A offering form did not correct the previously filed,
10          false and misleading Form 1-A.
11       p) Investors depend on true, correct, and complete Form 1-A disclosures to
12          understand how companies use their funds. Reasonable investors are entitled to
13          timely know, and would have timely wanted to know, that: (1) funds they thought
14          were being used for video production were instead being used in a marijuana
15          business, and (2) Defendant Strategic planned to exit the marijuana business
16          shortly after entering into it.
17          28.    The SEC complaint further alleged that Defendants’ misrepresentations
18    significantly impacted the value of Defendant Strategic.
19       a) The SEC alleged that, concurrent with its issuance of the Press Releases and its
20          failure to amend the original Form 1-A, the average daily trading volume in
21          Strategic stock increased significantly, from approximately 5.13 million shares
22          between April 1, 2013 and February 7, 2014 to 849 million shares between
23          February 10, 2014 and March 27, 2014.
24       b) It also alleged that Strategic's closing share prices increased from $0.0032 on
25          February 7, 2014 to $0.055 on February 10, 2014 (an increase of over 1600%),
26          when Defendant Strategic announced its entry into the marijuana industry, with a
27          trading volume that day of 470 million shares. Trading reached a peak volume of
28
29
                                          11
30
                    COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
     Case 3:18-cv-01506-AHG-LL Document 1 Filed 07/02/18 PageID.12 Page 12 of 34




1           approximately 2.13 billion shares on March 24, 2014 before the price dropped to
2           $0.0001 on April 16, 2014.
3           29.      Defendant Fellner concealed the SEC Action and all of the allegations raised
4     therein from investors, including Mr. McGregor and Plaintiff. Instead, Defendants
5     continued taking payments from Plaintiff and misrepresented the status of its
6     investments.
7           30.      Unaware of the SEC Action, on April 12, 2016, Mr. McGregor emailed
8     Defendant Fellner asking for a status on his investment. Without mentioning the pending
9     SEC Action against him, Defendant Fellner responded:
10          While it has taken a little longer than we had anticipated, things are
            progressing well with the project and we are optimistic about growth and
11          sales. There are of course some issues with various governmental agencies
            as they do not like small companies being involved in the public sector but
12          we are working through those as well.
            On another note, since it has taken longer than we anticipated to get to full
13          speed, the stock price has dropped and I would like to make that up to you
            by issuing an additional 3,000,000 shares at no cost to you. If this is
14          agreeable to you, please let me know and I will send you a Subscription
            Agreement to sign and then once I receive it back, will issue you or who you
15          designate the additional shares.
16          31.      On April 24, 2016, twelve (12) days later, unbeknownst to Plaintiff
17    McGregor, Defendants filed an answer in the SEC Action.
18          32.      On May 23, 2016, Defendant Strategic issued a stock certificate for an
19    additional three million (3,000,000) shares of common stock to Plaintiff.
20          33.      Plaintiff continued making payments to Defendant Strategic pursuant to the
21    Note, and completed its final payment thereunder on December 1, 2016.
22          34.      As of December 1, 2016, Plaintiff invested a total of Five Hundred
23    Thousand Dollars ($500,000.00) in Defendant Strategic, and owned a total of three
24    billion five hundred million (3,005,000,000) shares of common stock in Defendant
25    Strategic.
26          35.      Defendant Fellner waited until February 2, 2017 to disclose the SEC Action
27    to Mr. McGregor, almost a year after the SEC Action was filed and two (2) months after
28    Plaintiff made its final payment under the Note to Defendant Strategic.
29
                                           12
30
                     COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
     Case 3:18-cv-01506-AHG-LL Document 1 Filed 07/02/18 PageID.13 Page 13 of 34




1           36.    On April 17, 2017, the SEC was awarded a summary judgment in the SEC
2     Action, finding liability against the Defendants. Specifically, the Court found that
3     Defendants made several fraudulent misrepresentations and omissions to its investors in
4     connection with (and to induce) the purchase or sale of securities, which were made by
5     use of an instrumentality of interstate commerce, and that those statements and omissions
6     were made with scienter (i.e. knowledge of wrongness).
7           37.    Based on a plea agreement, the Court issued four (4) judgments: (i)
8     permanently restraining and enjoining Defendants from violating the federal securities
9     laws; (ii) directing Defendants to pay civil money penalties; (iii) imposing a penny stock
10    bar against Defendant Fellner; and (iv) imposing an officer and director bar against
11    Defendant Fellner.
12          38.    The SEC Action also exposed Defendant Fellner’s earlier conviction of
13    fraud, a felony, for which he served three (3) years in prison. At no time referenced
14    herein did Defendant Fellner disclose his felony conviction to Strategic investors in
15    violation of SEC’s Rule 506 of Regulation D (17 U.S.C. §230.506(e)).
16          39.    In accordance with the judgment against him, on May 15, 2017, Defendant
17    Fellner executed a stock purchase agreement with third-party Garland Harris (“Harris”),
18    selling all of his shares in Defendant Strategic, including twenty million seven hundred
19    forty five thousand (20,745,000) shares of common stock and two million one hundred
20    forty five thousand (2,145,000) shared of Class A preferred stock in exchange for One
21    Dollar ($1.00).
22          40.    Also in accordance with the judgment against him in the SEC Action, on
23    May 31, 2017, Defendant Fellner resigned from Strategic’s Board of Directors and from
24    all executive and management positions at the company.
25          41.    On or about May 31, 2017, Harris was appointed sole director of Strategic’s
26    board of directors and also appointed president, secretary and treasurer; and, on even date
27    therewith, Harris instituted a move of Defendant Strategic’s principal executive offices to
28    West Palm Beach, Florida.
29
                                          13
30
                    COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
     Case 3:18-cv-01506-AHG-LL Document 1 Filed 07/02/18 PageID.14 Page 14 of 34




1           42.     On information and belief, on or about August 17, 2017, Defendant Strategic
2     began using the public trading status of the company to enter the cryptocurrency market,
3     intending to track or trade its shares on the Decentralized Exchange Market (“DEX”),
4     which is on the Bitcoin blockchain.
5           43.     On August 30, 2017, Plaintiff contacted Harris noting his ownership of three
6     billion, five million (3,005,000,000) shares of Defendant Strategic, and inquiring about
7     the status of the company. In response to this inquiry, Harris left a message for Plaintiff
8     requesting copies of his stock certificates.
9           44.     On August 31, 2017, Plaintiff received an email from an executive at
10    Defendant Strategic offering to exchange his brokerage shares in Strategic for tokenized
11    shares for placement and trading on the DEX and, whereby, Defendant Strategic would
12    act as both issuer and transfer agent thereof. Also included in this email communication
13    was a second request for Plaintiff to provide copies of his stock certificates. This
14    communication was the first time Plaintiff learned of Strategic’s intent to trade its shares
15    on the DEX.
16          45.     Plaintiff sent Harris copies of his Strategic stock certificates, but took no
17    action with respect to Defendant Strategic’s August 31, 2017 offer to tokenize his shares
18    in the company for DEX trading. Instead, Plaintiff continued seeking updates about the
19    status and future of Strategic, so that he could make an informed decision about his
20    holdings and investment therein. To date, Plaintiff has received no response from
21    Defendant Strategic or Harris in response to his many inquiries.
22          46.     On information and belief, in March 2018, Defendant Strategic relocated its
23    principal place of business to Branson, Missouri.
24          47.     On information and belief, Strategic has never held an annual meeting, nor
25    has Plaintiff received notice of any such meeting(s) or votes, nor has Plaintiff received
26    any annual report(s) for Strategic, in violation of state law in both Delaware (where
27    Strategic is incorporated) and California.
28    ///
29
                                          14
30
                    COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
     Case 3:18-cv-01506-AHG-LL Document 1 Filed 07/02/18 PageID.15 Page 15 of 34




1            48.    On information and belief, Defendants knowingly withheld information
2     about Strategic, its businesses and its management that they knew or should have known
3     was, or would be, necessary for Plaintiff to make informed decisions about his holdings
4     and investment in the company. Such withholding of information prevented and/or
5     materially impaired Plaintiff’s ability to make informed and reasonable decisions about
6     his investment in the company.
7            49.    Plaintiff would not have invested in Defendant Strategic had it known of
8     Defendant Fellner’s previous fraud conviction and criminal record.
9            50.    Plaintiff would not have invested, nor would it have continued investing, in
10    Strategic had it known that Defendant Fellner did not have the requisite knowledge or
11    know-how to operate and manage a publicly traded company.
12           51.    Plaintiff would not have invested in Defendant Strategic had it been
13    disclosed that Defendants did not have the infrastructure, capital, know-how, licensing,
14    and requirements necessary to successfully operate a medical marijuana business.
15           52.    Plaintiff would not have continued investing in Strategic had Defendants
16    disclosed that they were under investigation by the SEC.
17           53.    Plaintiff would not have continued investing in Strategic had Defendants
18    disclosed that they were being prosecuted for fraud by the SEC.
19           54.    On information and belief, Defendants did not use Plaintiff’s financial
20    investment for the purposes, or in the manner, for which Defendants proposed the
21    investment funds would be used.
22                                  FIRST CAUSE OF ACTION
23         (Violations of Section 10(b) and Rule 10b-5(b) of the Exchange Act Against
24                                            Defendants)
25           55.    Plaintiff repeats, re-pleads and re-alleges the allegations contained in
26    paragraphs 1 through 54, inclusive, above, and incorporates the same herein in full.
27           56.    Section 10(b) of the Securities Exchange Act of 1934 (15 U.S.C. Section
28    78j(b)) states,
29
                                              15
30
                        COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
     Case 3:18-cv-01506-AHG-LL Document 1 Filed 07/02/18 PageID.16 Page 16 of 34




1                   It shall be unlawful for any person, directly or indirectly, by the use of
                    any means or instrumentality of interstate commerce or of the mails,
2                   or of any facility of any national securities exchange…[t]o use or
                    employ, in connection with the purchase or sale of any security
3                   registered on a national securities exchange or any security not so
                    registered, or any securities-based swap agreement any manipulative
4                   or deceptive device or contrivance in contravention of such rules and
                    regulations as the Commission may prescribe as necessary or
5                   appropriate in the public interest or for the protection of investors.
6           57.     SEC Rule 10b-5 (17 C.F.R. 240.10b-5), makes it unlawful for any person,
7                   …directly or indirectly, by the use of any means or instrumentality of
                    interstate commerce or of the mails, or of any facility of any national
8                   securities exchange
                    (a) To employ any device, scheme, or artifice to defraud,
9
                    (b) To make any untrue statement of a material fact or to omit to state
10                  a material fact necessary in order to make the statements made, in the
11
                    light of the circumstances under which they were made, not
                    misleading, or
12                  (c) To engage in any act, practice, or course of business which
13                  operates or would operate as a fraud or deceit upon any person, in
                    connection with the purchase or sale of any security.
14
15          58.     A private party plaintiff seeking money damages for a violation of Section
16    10(b) and Rule 10b-5 must demonstrate a: (1) material misrepresentation or omission by
17    the defendant; (2) scienter; (3) a connection between the misrepresentation or omission
18    and the purchase or sale of a security; (4) reliance and (5) damages.
19          59.     Between March 2013 and December 2016, Defendants, knowingly or
20    recklessly, in connection with the purchase or sale of securities, directly or indirectly, by
21    use of any means or instrumentalities of interstate commerce, or the mails, made untrue
22    statements of material facts and/or omitted to state material facts necessary in order to
23    make the statements made, in the light of the circumstances under which they were made,
24    misleading.
25          60.     These misrepresentations and omissions that Defendants made to Plaintiff
26    include the following:
27    ///
28    ///
29
                                          16
30
                    COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
     Case 3:18-cv-01506-AHG-LL Document 1 Filed 07/02/18 PageID.17 Page 17 of 34




1        a) Omitting the disclosure of Fellner’s felony convictions of conspiracy and federal
2           mail fraud to investors of Strategic, in violation of the mandatory disclosure
3           requirements of SEC’s Rule 506 of Regulation D;
4        b) Misrepresenting or falsely portraying Strategic’s ownership of a revenue-
5           generating marijuana cultivation facility in Teller County, Colorado, in January
6           2014, when in fact, it did not have, nor did it ever have, the ability to operate in the
7           marijuana business space or legally generate revenue from the sale of marijuana
8           generated from its purported cultivation facility in Teller County, Colorado;
9        c) Mischaracterizing to Strategic’s investors its purchase of Bearpot's assets as the
10          acquisition of "an existing" marijuana cultivation facility in Teller County,
11          Colorado, when in fact, Bearpot had no such facility – the purported cultivation
12          facility was instead a rented two-story house in a residential area of Teller County;
13       d) Failing to disclose the fact that applicable laws prohibited Bearpot from having a
14          facility in Teller County, Colorado because: (i) Teller County Ordinance #18,
15          effective as of March 2013, prohibited the licensing and operation of, among other
16          things, marijuana cultivation facilities, (ii) under various Colorado state laws,
17          commercial medical marijuana cultivation required a license, which neither
18          Bearpot, nor Defendants, or their officers, ever had, and (iii) Teller County zoning
19          regulations did not permit commercial marijuana grow houses in the residential
20          area where Bearpot's purported facility was located;
21       e) Falsely portraying Bearpot and Strategic as having both the legal and financial
22          potential to have a functioning marijuana cultivation facility using false revenue
23          and growth projections;
24       f) Falsely portraying Strategic as having the requisite licensure, funding, and other
25          corporate infrastructure needed to run a successful marijuana-related business in
26          January 2014;
27       g) Failing to disclose in or on Strategic's Form 1-A offering documents filed with
28          the SEC that Strategic used investor proceeds to enter the marijuana business,
29
                                         17
30
                   COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
     Case 3:18-cv-01506-AHG-LL Document 1 Filed 07/02/18 PageID.18 Page 18 of 34




1              when it had actually—at that point—procured funds for the purpose of investing
2              in video production/social media ventures;
3           h) Failing to file accurate 1-A forms with the SEC;
4           i) Failing to disclose to investors of Strategic, including Plaintiff (who continued
5              making investment payments under the Note into December 2016) that Strategic
6              decided to exit the marijuana business in April 2014;
7           j) Failing to disclose to investors of Defendant Strategic that, in August 2014, the
8              company was being investigated by the SEC;
9           k) Failing to inform Strategic’s investors that, in February 2016, the SEC initiated a
10             lawsuit against Fellner and Strategic (but continued accepting investment payments
11             as if the SEC Action did not exist); and,
12          l) Falsely representing to Plaintiff, in April 12, 2016, that “things are progressing
13             well” and that Defendants were “optimistic about growth and sales,” when in fact
14             Strategic was not positioned for growth.
15             61.   The foregoing omissions and representations induced Plaintiff, to invest a
16    total of Five Hundred Thousand Dollars ($500,000.00) in Defendant Strategic from 2012-
17    2016.
18             62.   As a result of Defendants’ violations of Section 10(b) and Rule 10b-5(b) of
19    the Exchange Act, 15 U.S.C. § 78j(b) and 17 C.F.R. § 240.10b-5(b), Plaintiff has been
20    damaged in an amount to be established at trial.
21             63.   As a result of these material misrepresentations, Plaintiff is entitled to
22    rescind the above-described purchases, and have the consideration given therefor repaid
23    with interest thereon.
24             64.   Plaintiff, before entry of judgment, will tender to Defendants and each of
25    them, the units which they respectively hold and which were purchased from
26    Defendants, and each of them, and on which, to date, Plaintiff has received Zero Dollars
27    ($0.00) as total income.
28    ///
29
                                            18
30
                      COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
     Case 3:18-cv-01506-AHG-LL Document 1 Filed 07/02/18 PageID.19 Page 19 of 34




1                                 SECOND CAUSE OF ACTION
2      (For Material Misrepresentation in the Sale of Securities Under Section 12(2) of
3                         the Securities Act of 1933 Against Defendants)
4           65.    Plaintiff repeats, re-pleads and re-alleges the allegations contained in
5     paragraphs 1 through 64, inclusive, above and incorporates the same herein in full.
6           66.    Between 2012-2016, Defendants, and each of them, individually and
7     collectively, offered and sold to Plaintiff an aggregate of three billion five million
8     (3,005,000,000) shares of common stock in Strategic in consideration for Plaintiff’s
9     investment of Five Hundred Thousand Dollars ($500,000.00).
10          67.    These transactions were made, using instrumentalities of interstate
11    commerce, including, but not limited to, telephones and the mail (and e-mail), by means
12    of prospectus and oral communications, which included the above-mentioned untrue
13    statements of material fact and which omitted material facts that were necessary in
14    order to make the statements made in those communications, in light of the
15    circumstances under which they were made, not misleading. The communications were
16    false in the manner set forth herein, including:
17       a) Omitting the disclosure of Fellner’s felony convictions of conspiracy and federal
18          mail fraud to investors of Strategic, in violation of the mandatory disclosure
19          requirements of SEC’s Rule 506 of Regulation D;
20       b) Misrepresenting or falsely portraying Strategic’s ownership of a revenue-
21          generating marijuana cultivation facility in Teller County, Colorado, in January
22          2014, when in fact, it did not have, nor did it ever have, the ability to operate in the
23          marijuana business space or legally generate revenue from the sale of marijuana
24          generated from its purported cultivation facility in Teller County, Colorado;
25       c) Mischaracterizing to Strategic’s investors its purchase of Bearpot's assets as the
26          acquisition of "an existing" marijuana cultivation facility in Teller County,
27          Colorado, when in fact, Bearpot had no such facility – the purported cultivation
28          facility was instead a rented two-story house in a residential area of Teller County;
29
                                          19
30
                    COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
     Case 3:18-cv-01506-AHG-LL Document 1 Filed 07/02/18 PageID.20 Page 20 of 34




1        d) Failing to disclose the fact that applicable laws prohibited Bearpot from having a
2           facility in Teller County, Colorado because: (i) Teller County Ordinance #18,
3           effective as of March 2013, prohibited the licensing and operation of, among other
4           things, marijuana cultivation facilities, (ii) under various Colorado state laws,
5           commercial medical marijuana cultivation required a license, which neither
6           Bearpot, nor Defendants, or their officers, ever had, and (iii) Teller County zoning
7           regulations did not permit commercial marijuana grow houses in the residential
8           area where Bearpot's purported facility was located;
9        e) Falsely portraying Bearpot and Strategic as having both the legal and financial
10          potential to have a functioning marijuana cultivation facility using false revenue
11          and growth projections;
12       f) Falsely portraying Strategic as having the requisite licensure, funding, and other
13          corporate infrastructure needed to run a successful marijuana-related business in
14          January 2014;
15       g) Failing to disclose in or on Strategic's Form 1-A offering documents filed with
16          the SEC that Strategic used investor proceeds to enter the marijuana business,
17          when it had actually—at that point—procured funds for the purpose of investing
18          in video production/social media ventures;
19       h) Failing to file accurate 1-A forms with the SEC;
20       i) Failing to disclose to investors of Strategic, including Plaintiff (who continued
21          making investment payments under the Note into December 2016) that Strategic
22          decided to exit the marijuana business in April 2014;
23       j) Failing to disclose to investors of Defendant Strategic that, in August 2014, the
24          company was being investigated by the SEC;
25       k) Failing to inform Strategic’s investors that, in February 2016, the SEC initiated a
26          lawsuit against Fellner and Strategic (but continued accepting investment payments
27          as if the SEC Action did not exist); and,
28
29
                                         20
30
                   COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
     Case 3:18-cv-01506-AHG-LL Document 1 Filed 07/02/18 PageID.21 Page 21 of 34




1           l) Falsely representing to Plaintiff, in April 12, 2016, that “things are progressing
2              well” and that Defendants were “optimistic about growth and sales,” when in fact
3              Strategic was not positioned for growth.
4              68.   Plaintiff has suffered damages as a result of Defendants and each of their
5     actions, in an amount to be established at trial.
6              69.   As a result of the material misrepresentations, Plaintiff is entitled to
7     rescind the above-described purchases and have the consideration given repaid with
8     interest thereon.
9              70.   Plaintiff, before entry of judgment, will tender to Defendants and each of
10    them, the units which they respectively hold and which were purchased from
11    Defendants, and each of them, and on which, to date, Plaintiff has received Zero Dollars
12    ($0.00) as total income.
13                                   THIRD CAUSE OF ACTION
14            (For Material Misrepresentation in the Sale of Securities Under California
15                   Corporations Code § 25401 and § 25501 Against Defendants)
16             71.   Plaintiff repeats, re-pleads and re-alleges the allegations contained in
17    paragraphs 1 through 70, inclusive, above and incorporate the same herein in full.
18             72.   In or about 2012-2016, Defendants and each of them, individually and
19    collectively, offered and sold to Plaintiff an aggregate of three billion five million
20    (3,005,000,000) shares of common stock in Defendant Strategic in consideration for
21    Plaintiff’s investment of Five Hundred Thousand Dollars ($500,000.00).
22             73.   These transactions were made, by means of written and oral
23    communications, which included specified untrue statements of material fact and which
24    omitted to state material facts that were necessary in order to make the statements made
25    in those communications, in light of the circumstances under which they were made,
26    not misleading. The communications were false in the manner set forth herein,
27    including:
28    ///
29
                                            21
30
                      COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
     Case 3:18-cv-01506-AHG-LL Document 1 Filed 07/02/18 PageID.22 Page 22 of 34




1        a) Omitting the disclosure of Fellner’s felony convictions of conspiracy and federal
2           mail fraud to investors of Strategic, in violation of the mandatory disclosure
3           requirements of SEC’s Rule 506 of Regulation D;
4        b) Misrepresenting or falsely portraying Strategic’s ownership of a revenue-
5           generating marijuana cultivation facility in Teller County, Colorado, in January
6           2014, when in fact, it did not have, nor did it ever have, the ability to operate in the
7           marijuana business space or legally generate revenue from the sale of marijuana
8           generated from its purported cultivation facility in Teller County, Colorado;
9        c) Mischaracterizing to Strategic’s investors its purchase of Bearpot's assets as the
10          acquisition of "an existing" marijuana cultivation facility in Teller County,
11          Colorado, when in fact, Bearpot had no such facility – the purported cultivation
12          facility was instead a rented two-story house in a residential area of Teller County;
13       d) Failing to disclose the fact that applicable laws prohibited Bearpot from having a
14          facility in Teller County, Colorado because: (i) Teller County Ordinance #18,
15          effective as of March 2013, prohibited the licensing and operation of, among other
16          things, marijuana cultivation facilities, (ii) under various Colorado state laws,
17          commercial medical marijuana cultivation required a license, which neither
18          Bearpot, nor Defendants, or their officers, ever had, and (iii) Teller County zoning
19          regulations did not permit commercial marijuana grow houses in the residential
20          area where Bearpot's purported facility was located;
21       e) Falsely portraying Bearpot and Strategic as having both the legal and financial
22          potential to have a functioning marijuana cultivation facility using false revenue
23          and growth projections;
24       f) Falsely portraying Strategic as having the requisite licensure, funding, and other
25          corporate infrastructure needed to run a successful marijuana-related business in
26          January 2014;
27       g) Failing to disclose in or on Strategic's Form 1-A offering documents filed with
28          the SEC that Strategic used investor proceeds to enter the marijuana business,
29
                                         22
30
                   COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
     Case 3:18-cv-01506-AHG-LL Document 1 Filed 07/02/18 PageID.23 Page 23 of 34




1              when it had actually—at that point—procured funds for the purpose of investing
2              in video production/social media ventures;
3           h) Failing to file accurate 1-A forms with the SEC;
4           i) Failing to disclose to investors of Strategic, including Plaintiff (who continued
5              making investment payments under the Note into December 2016) that Strategic
6              decided to exit the marijuana business in April 2014;
7           j) Failing to disclose to investors of Defendant Strategic that, in August 2014, the
8              company was being investigated by the SEC;
9           k) Failing to inform Strategic’s investors that, in February 2016, the SEC initiated a
10             lawsuit against Fellner and Strategic (but continued accepting investment payments
11             as if the SEC Action did not exist); and,
12          l) Falsely representing to Plaintiff, in April 12, 2016, that “things are progressing
13             well” and that Defendants were “optimistic about growth and sales,” when in fact
14             Strategic was not positioned for growth.
15             74.   Plaintiff purchased an aggregate of 3,005,000,000 shares of common stock
16    in Strategic from Defendants , and each of them, based on Defendants’ false and
17    misleading communications.
18             75.   Plaintiff has suffered damages as a result of Defendants , and each of their
19    actions, in an amount to be established at trial.
20             76.   As a result of the material misrepresentations, Plaintiff is entitled to
21    rescind the above-described purchases and have the consideration given repaid with
22    interest thereon.
23             77.   Plaintiff, before entry of judgment, will tender to Defendants, and each of
24    them, the units which they respectively hold and which were purchased from
25    Defendants, and each of them, and on which, to date, Plaintiff has received Zero Dollars
26    ($0.00) as total income.
27    ///
28    ///
29
                                            23
30
                      COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
     Case 3:18-cv-01506-AHG-LL Document 1 Filed 07/02/18 PageID.24 Page 24 of 34




1                                FOURTH CAUSE OF ACTION
2                      (Negligent Misrepresentation Against Defendants)
3           78.    Plaintiff repeats, re-pleads and re-alleges the allegations contained in
4     paragraphs 1 through 77, inclusive, above and incorporates the same herein in full.
5           79.    When Defendants and each of them, publically made the material
6     representations described herein to Plaintiff and to potential investors of Defendant
7     Strategic, they had no reasonable ground for believing those statements to be true,
8     including the following:
9        a) Omitting the disclosure of Fellner’s felony convictions of conspiracy and federal
10          mail fraud to investors of Strategic, in violation of the mandatory disclosure
11          requirements of SEC’s Rule 506 of Regulation D;
12       b) Misrepresenting or falsely portraying Strategic’s ownership of a revenue-
13          generating marijuana cultivation facility in Teller County, Colorado, in January
14          2014, when in fact, it did not have, nor did it ever have, the ability to operate in the
15          marijuana business space or legally generate revenue from the sale of marijuana
16          generated from its purported cultivation facility in Teller County, Colorado;
17       c) Mischaracterizing to Strategic’s investors its purchase of Bearpot's assets as the
18          acquisition of "an existing" marijuana cultivation facility in Teller County,
19          Colorado, when in fact, Bearpot had no such facility – the purported cultivation
20          facility was instead a rented two-story house in a residential area of Teller County;
21       d) Failing to disclose the fact that applicable laws prohibited Bearpot from having a
22          facility in Teller County, Colorado because: (i) Teller County Ordinance #18,
23          effective as of March 2013, prohibited the licensing and operation of, among other
24          things, marijuana cultivation facilities, (ii) under various Colorado state laws,
25          commercial medical marijuana cultivation required a license, which neither
26          Bearpot, nor Defendants, or their officers, ever had, and (iii) Teller County zoning
27          regulations did not permit commercial marijuana grow houses in the residential
28          area where Bearpot's purported facility was located;
29
                                          24
30
                    COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
     Case 3:18-cv-01506-AHG-LL Document 1 Filed 07/02/18 PageID.25 Page 25 of 34




1        e) Falsely portraying Bearpot and Strategic as having both the legal and financial
2           potential to have a functioning marijuana cultivation facility using false revenue
3           and growth projections;
4        f) Falsely portraying Strategic as having the requisite licensure, funding, and other
5           corporate infrastructure needed to run a successful marijuana-related business in
6           January 2014;
7        g) Failing to disclose in or on Strategic's Form 1-A offering documents filed with
8           the SEC that Strategic used investor proceeds to enter the marijuana business,
9           when it had actually—at that point—procured funds for the purpose of investing
10          in video production/social media ventures;
11       h) Failing to file accurate 1-A forms with the SEC;
12       i) Failing to disclose to investors of Strategic, including Plaintiff (who continued
13          making investment payments under the Note into December 2016) that Strategic
14          decided to exit the marijuana business in April 2014;
15       j) Failing to disclose to investors of Defendant Strategic that, in August 2014, the
16          company was being investigated by the SEC;
17       k) Failing to inform Strategic’s investors that, in February 2016, the SEC initiated a
18          lawsuit against Fellner and Strategic (but continued accepting investment payments
19          as if the SEC Action did not exist); and,
20       l) Falsely representing to Plaintiff, in April 12, 2016, that “things are progressing
21          well” and that Defendants were “optimistic about growth and sales,” when in fact
22          Strategic was not positioned for growth.
23          80.    Defendants, and each of them, made the above-stated material
24    representations intending that Plaintiff would rely upon them, or with gross negligence
25    as to whether they would so act, and expecting that Plaintiff would do so, in order to
26    induce Plaintiff to invest in Defendant Strategic.
27          81.    At the time Defendants, and each of them, made the above-referenced
28    material representations to Plaintiff, which representations were a substantial factor in
29
                                          25
30
                    COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
     Case 3:18-cv-01506-AHG-LL Document 1 Filed 07/02/18 PageID.26 Page 26 of 34




1     Plaintiff’s decision to invest, and Plaintiff believed the material representations of
2     Defendants, and each of them, to be true and correct, and reasonably relied on them
3     when investing in Defendant Strategic.
4              82.   Had Plaintiff known all the facts, it would not have invested in Defendant
5     Strategic.
6              83.   As a direct and proximate result of Defendants, and each of their
7     unreasonable actions, and Plaintiff’s’ good-faith and justifiable reliance thereon,
8     Plaintiff incurred special and general damages in an amount to be proven at the time of
9     trial.
10                                     FIFTH CAUSE OF ACTION
11                           (Fraud in the Inducement Against Defendants)
12             84.   Plaintiff repeats, re-pleads and re-alleges the allegations contained in
13    paragraphs 1 through 83, inclusive, above and incorporates the same herein in full.
14             85.   As detailed herein, Plaintiff alleges that between 2012 through 2016,
15    Defendants, and each of them, made material false promises that harmed Plaintiff, and
16    Defendants, and each of them, provided Plaintiff with false information during the
17    course of Defendants’, and each of their, capital-raising efforts on behalf of Defendant
18    Strategic, in order to induce Plaintiff to invest funds in Defendant Strategic.
19             86.   These promises and false information included the following:
20        a) Omitting the disclosure of Fellner’s felony convictions of conspiracy and federal
21             mail fraud to investors of Strategic, in violation of the mandatory disclosure
22             requirements of SEC’s Rule 506 of Regulation D;
23        b) Misrepresenting or falsely portraying Strategic’s ownership of a revenue-
24             generating marijuana cultivation facility in Teller County, Colorado, in January
25             2014, when in fact, it did not have, nor did it ever have, the ability to operate in the
26             marijuana business space or legally generate revenue from the sale of marijuana
27             generated from its purported cultivation facility in Teller County, Colorado;
28
29
                                            26
30
                      COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
     Case 3:18-cv-01506-AHG-LL Document 1 Filed 07/02/18 PageID.27 Page 27 of 34




1        c) Mischaracterizing to Strategic’s investors its purchase of Bearpot's assets as the
2           acquisition of "an existing" marijuana cultivation facility in Teller County,
3           Colorado, when in fact, Bearpot had no such facility – the purported cultivation
4           facility was instead a rented two-story house in a residential area of Teller County;
5        d) Failing to disclose the fact that applicable laws prohibited Bearpot from having a
6           facility in Teller County, Colorado because: (i) Teller County Ordinance #18,
7           effective as of March 2013, prohibited the licensing and operation of, among other
8           things, marijuana cultivation facilities, (ii) under various Colorado state laws,
9           commercial medical marijuana cultivation required a license, which neither
10          Bearpot, nor Defendants, or their officers, ever had, and (iii) Teller County zoning
11          regulations did not permit commercial marijuana grow houses in the residential
12          area where Bearpot's purported facility was located;
13       e) Falsely portraying Bearpot and Strategic as having both the legal and financial
14          potential to have a functioning marijuana cultivation facility using false revenue
15          and growth projections;
16       f) Falsely portraying Strategic as having the requisite licensure, funding, and other
17          corporate infrastructure needed to run a successful marijuana-related business in
18          January 2014;
19       g) Failing to disclose in or on Strategic's Form 1-A offering documents filed with
20          the SEC that Strategic used investor proceeds to enter the marijuana business,
21          when it had actually—at that point—procured funds for the purpose of investing
22          in video production/social media ventures;
23       h) Failing to file accurate 1-A forms with the SEC;
24       i) Failing to disclose to investors of Strategic, including Plaintiff (who continued
25          making investment payments under the Note into December 2016) that Strategic
26          decided to exit the marijuana business in April 2014;
27       j) Failing to disclose to investors of Defendant Strategic that, in August 2014, the
28          company was being investigated by the SEC;
29
                                         27
30
                   COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
     Case 3:18-cv-01506-AHG-LL Document 1 Filed 07/02/18 PageID.28 Page 28 of 34




1           k) Failing to inform Strategic’s investors that, in February 2016, the SEC initiated a
2              lawsuit against Fellner and Strategic (but continued accepting investment payments
3              as if the SEC Action did not exist); and,
4           l) Falsely representing to Plaintiff, in April 12, 2016, that “things are progressing
5              well” and that Defendants were “optimistic about growth and sales,” when in fact
6              Strategic was not positioned for growth.
7              87.   These promises and representations were material to the transaction and
8     Plaintiff would not have invested in Defendant Strategic if these promises had not been
9     made. Thus, Plaintiff was induced to invest in Defendant Strategic by these promises
10    and representations.
11             88.   Defendants, and each of them, did not intend to perform these promises
12    when they made them, and Defendants, and each of them, knew that such
13    representations were false when made.
14             89.   Defendants, and each of them, intended that Plaintiff rely on their promises
15    and representations, and Plaintiff did in fact reasonably and justifiably rely on these
16    promises and representations.
17             90.   Plaintiff’s reliance on the representations of Defendants, and each of them,
18    was justified, because Plaintiff believed that Defendants, and each of them, had good
19    contacts, infrastructure, capital and know-how to thrive in newly developing marijuana
20    industry, and that Defendants, and each of them, demonstrated, through their
21    representations and public statements that the venture was a good idea, well-planned,
22    and well financed, and further that Defendants, and each of them knew how to navigate
23    the legal requirements of such a venture, and Plaintiff did not have any reason or cause
24    to suspect that such representations were not true.
25             91.   Plaintiff’s reliance Defendants’, and each of their, material promises and
26    representations was a substantial factor in the harm caused to Plaintiff.
27             92.   Defendants, and each of them, failed to perform their promises.
28    ///
29
                                            28
30
                      COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
     Case 3:18-cv-01506-AHG-LL Document 1 Filed 07/02/18 PageID.29 Page 29 of 34




1            93.       Plaintiff has been injured and suffered monetary damages as a result of
2     Defendants’, and each of their, grossly negligent and/or willful misrepresentations and
3     failure to perform their promises, in an amount to be shown according to proof at the
4     time of trial.
5            94.       The aforementioned conduct of Defendants, and each of them, was an
6     intentional and material misrepresentation, deceit and concealment of material facts
7     known to Defendants, and each of them, and was done with the intention, or with the
8     grossly negligent omission, on the part of Defendants, and each of them, thereby
9     depriving Plaintiff of the opportunity to refuse to invest in Defendant Strategic, and
10    their legal rights and otherwise causing them injury, and was despicable conduct that
11    subjected Plaintiff to cruel and unjust hardship in conscious disregard of their rights, so
12    as to justify an award of exemplary and punitive damages.
13           95.       As a result of such material misrepresentations and false promises, Plaintiff
14    is entitled to rescind the above-described investments and have the consideration given
15    repaid with interest thereon.
16                                      SIXTH CAUSE OF ACTION
17        (Breach of Fiduciary Duty Against Fellner and Does 1 through 20, inclusive)
18           96.       Plaintiff repeats, re-pleads and re-alleges the allegations contained in
19    paragraphs 1 through 95, inclusive, above and incorporates the same herein in full.
20           97.       As corporate managers of Defendant Strategic, and by virtue of his control
21    of the business affairs of Strategic, Defendant Fellner and the Doe Defendants, and each
22    of them, owed fiduciary duties of the utmost good-faith, trust, loyalty, honesty and care
23    to Strategic’s investors and members, including Plaintiff, and to act in the best interests
24    of Strategic, its members and its investors, even when doing so was not in Defendants’
25    best interest.
26           98.       By their willful malfeasance through self-dealing and improper and illicit
27    use of the funds, Plaintiff invested in Strategic; Defendant Fellner and the Doe
28    Defendants, and each of them, intentionally and willfully breached their fiduciary duties
29
                                             29
30
                       COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
     Case 3:18-cv-01506-AHG-LL Document 1 Filed 07/02/18 PageID.30 Page 30 of 34




1     to Strategic’s investors and members, in multiple ways including, but not limited, to the
2     following:
3        a) Omitting the disclosure of Fellner’s felony convictions of conspiracy and federal
4           mail fraud to investors of Strategic, in violation of the mandatory disclosure
5           requirements of SEC’s Rule 506 of Regulation D;
6        b) Misrepresenting or falsely portraying Strategic’s ownership of a revenue-
7           generating marijuana cultivation facility in Teller County, Colorado, in January
8           2014, when in fact, it did not have, nor did it ever have, the ability to operate in the
9           marijuana business space or legally generate revenue from the sale of marijuana
10          generated from its purported cultivation facility in Teller County, Colorado;
11       c) Mischaracterizing to Strategic’s investors its purchase of Bearpot's assets as the
12          acquisition of "an existing" marijuana cultivation facility in Teller County,
13          Colorado, when in fact, Bearpot had no such facility – the purported cultivation
14          facility was instead a rented two-story house in a residential area of Teller County;
15       d) Failing to disclose the fact that applicable laws prohibited Bearpot from having a
16          facility in Teller County, Colorado because: (i) Teller County Ordinance #18,
17          effective as of March 2013, prohibited the licensing and operation of, among other
18          things, marijuana cultivation facilities, (ii) under various Colorado state laws,
19          commercial medical marijuana cultivation required a license, which neither
20          Bearpot, nor Defendants, or their officers, ever had, and (iii) Teller County zoning
21          regulations did not permit commercial marijuana grow houses in the residential
22          area where Bearpot's purported facility was located;
23       e) Falsely portraying Bearpot and Strategic as having both the legal and financial
24          potential to have a functioning marijuana cultivation facility using false revenue
25          and growth projections;
26       f) Falsely portraying Strategic as having the requisite licensure, funding, and other
27          corporate infrastructure needed to run a successful marijuana-related business in
28          January 2014;
29
                                         30
30
                   COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
     Case 3:18-cv-01506-AHG-LL Document 1 Filed 07/02/18 PageID.31 Page 31 of 34




1        g) Failing to disclose in or on Strategic's Form 1-A offering documents filed with
2            the SEC that Strategic used investor proceeds to enter the marijuana business,
3            when it had actually—at that point—procured funds for the purpose of investing
4            in video production/social media ventures;
5        h) Failing to file accurate 1-A forms with the SEC;
6        i) Failing to disclose to investors of Strategic, including Plaintiff (who continued
7            making investment payments under the Note into December 2016) that Strategic
8            decided to exit the marijuana business in April 2014;
9        j) Failing to disclose to investors of Defendant Strategic that, in August 2014, the
10           company was being investigated by the SEC;
11       k) Failing to inform Strategic’s investors that, in February 2016, the SEC initiated a
12           lawsuit against Fellner and Strategic (but continued accepting investment payments
13           as if the SEC Action did not exist); and,
14       l) Falsely representing to Plaintiff, in April 12, 2016, that “things are progressing
15           well” and that Defendants were “optimistic about growth and sales,” when in fact
16           Strategic was not positioned for growth.
17           99.   Defendant Fellner and the Doe Defendants, and each of their acts,
18    omissions, misrepresentations and concealments, as alleged above, constitute breaches
19    of their fiduciary duties, all proximately causing the injuries and damages alleged
20    herein.
21           100. As a direct and proximate result of the aforesaid breach of fiduciary duty,
22    Plaintiff has been damaged, in an amount separate and apart from the damages suffered
23    by Strategic as an entity, in an amount to be established according to proof at the time
24    of trial.
25           101. The aforementioned conduct of Defendant Fellner and the Doe Defendants,
26    and each of them, was engaged in by Defendant Fellner and the Doe Defendants, and
27    each of them, with fraud, oppression and malice, with the intention on the part of
28    Defendant Fellner and the Doe Defendants, and each of them, of thereby depriving
29
                                          31
30
                    COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
     Case 3:18-cv-01506-AHG-LL Document 1 Filed 07/02/18 PageID.32 Page 32 of 34




1     Plaintiff of its legal rights and otherwise causing injury, and was despicable conduct
2     that subjected Plaintiff to cruel and unjust hardship in conscious disregard of its rights,
3     so as to justify an award of exemplary and punitive damages.
4                                 SEVENTH CAUSE OF ACTION
5                             (Constructive Trust Against Defendants)
6            102. Plaintiff repeats, re-pleads and re-alleges the allegations contained in
7     paragraphs 1 through 101, inclusive, above and incorporates the same herein in full.
8            103. Plaintiff is informed and believes, and on that basis herein alleges, that
9     Defendants, and each of them, are not the actual owner(s) of the funds invested by
10    Plaintiff in Strategic, and that Defendants, and each of them, converted the money
11    invested by Plaintiff and allegedly allocated to establish, construct, and/or operate
12    Strategic. Plaintiff is informed and believes, and on that basis herein alleges, that
13    Defendants, and each of them, are in possession of monies, which is the property of
14    Plaintiff, and as such, Defendants, and each of them, has become an involuntary trustee
15    for the benefit of Plaintiff.
16           104. Plaintiff is informed and believes, and on that basis herein alleges, that
17    Defendants, and each of them, has received, improperly retained or converted money
18    from Plaintiff, and which is the property of Plaintiff, and that Defendants, and each of
19    them, are currently in possession of that sum, the amount of which will be established
20    according to proof at the time of trial, plus interest charged thereon at the maximum
21    legal rate from the date the money was lent.
22                                    PRAYER FOR RELIEF
23           WHEREFORE, Plaintiff prays for judgment against Defendants Andrew
24    Fellner, an individual; Strategic Global Investments, Inc., a Delaware corporation; and
25    Does 1 though 20, inclusive, as follows:
26    ///
27    ///
28    ///
29
                                           32
30
                     COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
     Case 3:18-cv-01506-AHG-LL Document 1 Filed 07/02/18 PageID.33 Page 33 of 34




1                                  As to All Causes of Action
2           1.   For general, compensatory and consequential damages according to proof;
3           2.   For costs of suit incurred herein;
4           3.   For pre- and post- judgment interest according to proof;
5           4.   For exemplary and punitive damages; and
6           5.   For such other and further relief as the Court deems just and proper.
7                              As to the Fourth Cause of Action
8           1.   For general, compensatory and consequential damages according to proof;
9           2.   For costs of suit incurred herein;
10          3.   For pre- and post- judgment interest according to proof; and
11          4.   For such other and further relief as the Court deems just and proper.
12                              As to the Fifth Cause of Action
13          1.   For general, compensatory and consequential damages according to proof;
14          2.   For a rescission of all of the shares and/or units Plaintiff purchased;
15          3.   For costs of suit incurred herein;
16          4.   For pre- and post- judgment interest according to proof;
17          5.   For exemplary and punitive damages; and
18          6.   For such other and further relief as the Court deems just and proper.
19                   As to the First, Second and Third Causes of Action
20          1.   For general, compensatory and consequential damages according to proof;
21          2.   For a rescission of all of the shares and/or units Plaintiff purchased;
22          3.   For costs of suit incurred herein;
23          4.   For pre- and post- judgment interest according to proof; and
24          5.   For such other and further relief as the Court deems just and proper.
25    ///
26    ///
27    ///
28    ///
29
                                        33
30
                  COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
     Case 3:18-cv-01506-AHG-LL Document 1 Filed 07/02/18 PageID.34 Page 34 of 34




 1                               As to the Seventh Cause of Action
 2          1.     For the imposition of a constructive trust for the benefit of Plaintiff for the
 3    full amount of monies due and owing to Plaintiff.
 4          2.     For such other and further relief as the Court deems just and proper.
 5
      Dated: July 2, 2018                            ARENDSEN CANE MOLNAR LLP
 6

 7
                                                             /s/ Christian S. Molnar
 8                                                   Christian S. Molnar, Esq., attorneys for
 9
                                                     Highlander Holdings, Inc., a California
                                                     corporation
10
11
                                  REQUEST FOR JURY TRIAL
12
13
      Plaintiff hereby demands trial by jury.
14

15
16    Dated: July 2, 2018                            ARENDSEN CANE MOLNAR LLP
17
18                                                           /s/ Christian S. Molnar

19                                                   Christian S. Molnar, Esq., attorneys for
                                                     Highlander Holdings, Inc., a California
20                                                   corporation
21

22
23

24
25

26

27
28

29
                                          34
30
                    COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
